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                               I N THE UNITED STATES DISTRICT COi1R~~ ,
                             FOR THE NORTHERN DISTRICT OF GEO~GI( ~-
                                                IVISION
                                      ATLANTA DIVISION            g pu~

               CARPENTERS HEALTH &
               WELFARE FUND, et al .,
                    Plaintiffs,
                                                              CIVIL ACTION NO .
                     V.                                       1 :00-CV-283 S-WBH

               THE COCA-COLA COMPANY, et
               al.,
                     Defendants .

                                                        ORDER

                     This matter is now before the Court for consideration of Defendants' two

               motions to exclude from evidence the April 18, 2005, Order of the Security and

               Exchange Commission (the SEC Order) with respect to this Court's consideration of

               class certification, [Doc . 418], and with respect to consideration of summary

               judgment, [Doc . 532] . Defendants contend (1) that the SEC Order is a civil consent

               decree and, as such, is evidence of a compromise or offer to compromise which is

               inadmissible under Fed . R . Evid . 408 and (2) that the SEC Order constitutes

               inadmissible hearsay that does not satisfy any exception to the hearsay rule .

                     Having reviewed the SEC Order and the parties' briefs, this Court concludes

               that the SEC Order is not admissible .




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                                                       Background

                        According to published media reports, in 2004 the Securities and Exchange

                 Commission (SEC) opened an investigation into allegations that, inter alia, the Coca-

                 Cola Company (Coca-Cola) had engaged in channel stuffing . See, e. a., ATLANTA

                 BUSINESS CHRONICLE, SEC Investi ating Coca-Cola, Jan . 14, 2004 . The SEC

                 concluded its investigation, and Coca-Cola submitted an offer of settlement which the

                 SEC accepted. Pursuant to the settlement, the SEC issued the SEC Order . Available

                 at http ://www.sec.govllitigation/admin/33-8569.pdf.

                       In the SEC Order, the SEC found that at or near the end of each reporting period

                 between 1997 and 1999, Coca-Cola engaged in an undisclosed channel stuffing

                 scheme in Japan known as "gallon pushing" whereby Coca-Cola offered Japanese

                 bottlers incentives to induce those bottlers to purchase beverage concentrate earlier

                 than the bottlers otherwise would have . As a result of the channel stuffing, the SEC

                 found that Coca-Cola artificially met certain earnings estimates in order to manipulate

                 its share price and put future earnings at risk .

                       The SEC further found that Coca-Cola made material false and misleading

                 statements in connection with the channel stuffing on forms filed with the SEC . As

                 a result, the SEC concluded that Coca-Cola violated §§ 17(a)(2) and 17(a)(3) of the

                 Securities Act of 1933 and § 13(a) of the Securities Exchange Act of 1934 .


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               Accordingly, the SEC ordered Coca-Cola to cease and desist from committing such

               violations in the future and mandated that Coca-Cola adopt certain reforms to

               encourage the proper disclosure of material information . Coca-Cola was not fined or

               otherwise punished .

                     Significant to the matter at issue, Coca-Cola did not admit to any of the SEC's

               findings, and the SEC Order's findings and conclusions were not challenged or

               adjudicated by Coca-Cola . According to the SEC Order, the findings therein were

               "made pursuant to Coca-Cola's Offer of Settlement and are not binding on any other

               person or entity in this or any other proceeding ." SEC Order at 2 n . I . Notably,

               Defendants Nester, Chesnut, and Daft were not parties to the SEC proceedings and

               thus had no opportunity to contest the settlement and resulting Order .

                     According to Defendants, "the SEC did not allow [Defendants] to confront and

               cross-examine many of the witnesses on whose testimony the [SEC] Orderpresumably

               is based . Nor did the SEC allow [Defendants] to examine much of the evidence that

               serves as a basis for the findings in the [SEC] Order ." [Doc . 532 memorandum at 5] .



                                                    Discussion

               Federal Rule of Evidence 408

                     Federal Rule of Evidence 408 provides :.


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                Evidence of (1) furnishing or offering or promising to furnish, or (2)
                accepting or offering or promising to accept, a valuable consideration in
                compromising or attempting to compromise a claim which was disputed
                as to either validity or amount, is not admissible to prove liability for or
                invalidity of the claim or its amount . Evidence of conduct or statements
                made in compromise negotiations is likewise not admissible . This rule
                does not require the exclusion of any evidence otherwise discoverable
                merely because it is presented in the course of compromise negotiations .
                This rule also does not require exclusion when the evidence is offered for
                another purpose, such as proving bias or prejudice of a witness,
                negativing a contention of undue delay, or proving an effort to obstruct
                criminal investigation or prosecution .

                The Advisory Committee's Note to Rule 408 states that the main rationale for

         this rule is the "promotion of the public policy favoring the compromise and

         settlement of disputes ." The Eleventh Circuit held that "[t]he test for whether

         statements fall under this rule is `whether the statements or conduct were intended to

         be a part of the negotiations toward compromise ."' Blu-J, ~Inc . v. Kemper C .P .A.

         Group, 916 F.2d 637, 642 (11th Cir . 1990) (quoting Ramada Dev . Co. v . Rauch, 644

         F.2d 1097, 1 1 07 (5th Cir. 1981)) .

               In Ramada Dev . Co. v . Rauch, 644 F .2d 1097 (5th Cir . 1981),1 the Fifth Circuit

         upheld a district court's exclusion from evidence of a report prepared - in an




                ' The Ramada case was decided before the close of business on September 30,
         1981, and is thus binding precedent in this court under Bonner v . City of Prichard, 661
         F .2d 1206 ( 1 lth Cir.l9$1) (en bane) .




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                  unsuccessful settlement attempt - by an architect in a construction dispute . Id. at

                  1106. The Fifth Circuit discussed Rule 408 by noting that

                         The previous common law rule held that admissions of fact made in
                         negotiations were admissible "unless hypothetical, stated to be `without
                         prejudice,' or so connected with the offer as to be inseparable from it ."
                         Advisory CommitteeNotes, 28 U.S .C.A. Federal Rules ofEvidence, rule
                         408 . After the House Committee rejected a proposed deviation from the
                         common law rule, the Senate Committee amended the proposed rule, by
                         inclusion of the language emphasized in the above quote, because

                                The real impact of this (House) amendment however, is to
                                deprive the rule of much of its salutory effect . The
                                exception for factual admissions was believed by the
                                Advisory Committee to hamper free communication
                                between parties and thus to constitute an unjustifiable
                                restraint upon efforts to negotiate settlements the
                                encouragement of which is the purpose of the rule . Further,
                                by protecting hypothetically phrased statements, it
                                constituted a preference for the sophisticated, and a trap for
                                the unwary .

                          S.Rep .No. 1277, 93d Cong ., 2d Sess ., reprinted in (1974) U .S . Code
                          Cong. & Ad . News 7051, 7057 . The present rule fosters free discussion
                          in connection with such negotiations and eliminates the need to
                          determine whether the statement if not expressly qualified "falls within
                          or without the protected area of compromise ;" the question under the rule
                          is "whether the statements or conduct were intended to be part of the
                          negotiations toward compromise ." 2 J . Weinstein & M . Berger,
                          Weinstein's Evidence P 408(03), at 408-20 to -21 (1980) .

                  Id.

                          The Fifth Circuit went on to hold that the architect's report was not subject to

                  one of the exceptions under Rule 408 because "the document . . .would not have

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              existed but for the [settlement] negotiations ." Id. at 1107 . In response to the

              appellant's argument that Rule 408 does not require exclusion of the evidence "when

              the evidence is offered for another purpose (other than proving the existence of

              [liability])," the Fifth Circuit noted that "this provision, surely, was not intended to

              completely undercut the policy behind the rule ." Id . (citing 2 J . Weinstein & M .

              Berger, WEM sTEI v'S EVIDENCE P 408(05), at 408-25 to -26 for the proposition that

              the "court `should weigh the need for such evidence against the potentiality of

              discouraging future settlement negotiations"'} .

                    With respect to the instant action, this Court must acknowledge the high public

              policy value of encouraging entities and individuals to settle their disputes with the

              SEC and similar governmental agencies charged with the regulation of industry . It is

              clear, for example, that the investing public, through the SEC's efforts, benefitted

              from the settlement memorialized in the SEC Order .2 Coca-Cola's business operations


                    2 In the SEC Order, Coca-Cola agreed to implement the following reforms :

                    a. Coca-Cola has established an Ethics & Compliance Office to
                    administer its Code of Business Conduct and ensure, among other things,
                    that the Respondent conducts its business in compliance with the Code
                    of Business Conduct and with various laws ;

                    b. Coca-Cola has established a Disclosure Committee to assist its
                    Chief Executive Officer and Chief Financial Officer in fulfilling their
                    responsibility for oversight of the accuracy and timeliness of the
                    disclosures made by Coca-Cola ;
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          are now more transparent, and Coca-Cola investors are better informed and more

          likely to learn of material information .

                Admitting the SEC Order into evidence in this matter would likely have a

          chilling effect on future attempts by the SEC to settle similar cases as companies that

          are the subject of an SEC investigation would necessarily weigh the benefits of a

          settlement against the possible damage that the settlement would do to their prospects

          in pending or future litigation.

                Moreover, the SEC Order is itself a document memorializing a settlement

          agreement which would not have existed absent the settlement . See Ramada, 644 F .2d

          at 1107 . In the SEC Order, Coca-Cola acquiesces to the SEC's findings of fact and

          conclusions of law . In this context, this Court can see no material difference between

          those findings and conclusions on thee one hand and statements made during a


                c . Coca-Cola now requires that its divisions certify quarterly that
                they have not changed or extended payment terms for any bottler or
                customer and have not granted any special or unusual credit terms or
                incentives to any bottler or customer, unless they received approval for
                such terms ; and

                d . Coca-Cola's Audit Committee employs independent counsel
                experienced in securities laws disclosure issues and will continue to
                employ such experienced legal counsel chosen by the Audit Committee .
                Such counsel shall advise the Audit Committee as to implementation of
                the undertakings in this Order.

          [SEC Order at 10 ] .




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              settlement conference on the other . As such, this Court finds that the SEC Order falls

              squarely into the class of evidence deemed inadmissible pursuant to Rule 408 .

                     This Court recognizes that in a case cited and heavily relied upon by Plaintiffs,

              Option Resource Group v . Chambers Development Co. Inc ., 967 F . Supp . 846 (W .D.

              Pa . 1996), the Western District of Pennsylvania held that while Rule 409 mandated

              the exclusion of "evidence pertaining to the fact of compromise and settlement of the

              SEC administrative proceedings and the Consent and Final Judgment issued in the

              related civil proceeding in this Court," the court found that, for the purposes of

              summary judgment,' "the - findings and opinions/conclusions of the SEC, being

              rendered pursuant to the SEC's independent obligations to enforce the securities laws

              and not as a part of the actual compromise negotiations, are not governed by Rule

              408 ." Id. at 850 . In response, this Court first notes that in support of its statement that

              the SEC's findings and conclusions were admissible, the court in Option Resource

              cited to Affiliated Mfrs ., Inc . v . Aluminum Co, ,4_f America, 56 F .3d 521, 527 (3d Cir .

              1995) . However, as far as this Court can determine, Affiliated Manufacturers had

              nothing whatever to do with the matter at issue in Option Resource . The discussion

              in Affiliated Manufacturers concerned whether a series of communications between



                     3 The court reserved its ruling on whether the SEC's findings of fact were
              admissible at trial. Option Res ., 967 F . Supp . at 850 .

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               the parties constituted settlement negotiations such that Rule 408 would apply in the

               first instance .

                      Second, this Court, for the reasons noted above, simply disagrees with the

               Option Resource holding that the SEC's legal conclusions and factual determinations

               are not governed by Rule 408 . In reaching this conclusion, the court in Option

               Resource relied on the fact that the SEC rendered its "findings and

               opinions/conclusions . . . pursuant to the SEC's independent obligations to enforce the

               securities laws and not as part of the actual - compromise negotiations ." Option

               Resource, 967 F . Supp . at 850 . However, under that line of reasoning, the entire

               consent agreement would be admissible because everything that the SEC does is (or

               at least should be) done pursuant to its obligation to enforce the securities laws.

               Moreover, this Court does not agree with the premise articulated in Option Resource

               that the fact that the SEC made its findings and conclusions pursuant to some

               independent statutory responsibility removes those findings and conclusions from the

               ambit of Rule 408 . There is nothing in Rule 408 or the comments to indicate that such

               an exception to the Rule exists. Rather, the court in Option Resource seems to have

               grafted the hearsay exception in Rule 803(8)(C) - which allows admission of hearsay

               evidence that is "factual findings resulting from an investigation made pursuant to

               authority granted by law" - onto Rule 408 . However, Rule 803(8)(C) is not a back




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                door vehicle for the introduction of evidence which is otherwise inadmissible . The

                SEC Order resulted directly from Coca-Cola's offer to settle the matter, and as such,

                the SEC Order is governed by Rule 408 .

                       Plaintiffs also cite to Commodity Futures . Trading Commission v . Heffernan,

                245 F. Supp . 2d 1276, 1292 n.25 (S .D . Ga. 2003) and Steadman v . SEC, 603 F.2d

                1126, 1136 (5th Cir . 1979)4 for the proposition that "the Commission's construction

                of the securities laws in settled cases as well as litigated ones is entitled to great

                weight." [Doe . 552 at 1 (emphasis in original)] . However, the issue in both Heffernan

                and Steadman was the precedential value of the SEC's and CFTC's construction of

                the securities laws . For example, the court in Heffernan cited to a CFTC consent

                decree, which decree was entirely unrelated to the matter before the court, for the

                proposition that a particular regulation did not contain a scienter requirement . Neither




                      4 As to the other cases cited by Plaintiffs for the proposition that the SEC Order
                is admissible, McDaniel v . Bear Steams & Coy, Inc ., 196 F. Supp. 2d 343 (S .D.N.Y.
                2002), concerned an arbitration panel that was not bound by the Federal Rules of
                Evidence, id . at 366 ; Bear Stearns & Co ., Inc. v. 1109580 Ontario, Inc., 318 F . Supp .
                2d 199 (S .D .N.Y. 2004), affirmed an arbitrator's decision to exclude portions of an
                SEC consent order, but the issue regarding the admitted portions of the order was not
                discussed ; Wegerer v . First Commodity Corp . of Boston, 744 F .2d 719 (10th Cir .
                1984), concerned a private consent decree that was admitted for the limited purpose
                of demonstrating knowledge to establish fraud; and United States v. Gilbert, 668 F .2d
                94 (2d Cir. 1981) concerned an SEC consent order admitted for the purpose of
                showing that a criminal defendant had knowledge of SEC reporting requirements .

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                 case has anything to do with the issue of whether a consent decree could be admitted

                 into evidence .'



                 Federal Rule of Evidence 403

                        This Court further finds that the introduction of the SEC Order into evidence

                 would be unduly prejudicial to Defendants given the order's limited probative value .

                 Accordingg to Rule 403, relevant evidence "maybe excluded if its probative value is

                 substantially outweighed by the danger of unfair prejudice, confusion of the issues,

                 or misleading the jury, or by considerations of undue delay, waste of time, or needless

                 presentation of cumulative evidence ."

                        Obviously, the SEC Order is highly prejudicial to Defendants as it provides

                 significant detail regarding the alleged Japanese channel stuffing . Given the nature

                 of the SEC Order, this Court finds this prejudice to be unfair . The SEC Order has

                 three main components : (1) findings of fact, (2) conclusions of law, and (3) the

                 remedial measures that Coca-Cola has taken since the investigation began .




                       5 Indeed, in their footnote 3, Plaintiffs argue that the "SEC's finding that
                 Coke's failure to disclose its channel stuffing conduct was misleading has strong
                 precedential value .     ." [Doc . 552 at 2 n.3 (Emphasis added)] . We are not
                 concerned here, however, with precedential value but with evidentiary admissibility .

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                     The findings of fact do not have significant probative value because

               Defendants were not permitted to challenge those findings by examining the witnesses

               that the SEC relied on and because Defendants did not have the opportunity to present

               their own evidence. Wilson v . Attawav, 757 F .2d 1227, 1245 (11th Cir . 1985) (report

               excluded for a variety of reasons including failure to afford possibility of

               cross-examination) . The SEC Order also fails to indicate what evidence supported its

               findings such that this Court has no way to measure the relative reliability of each

               finding -some findings may be supported by ample evidence while others may be

               supported by only suspicion . Further, the SEC's failure to detail the evidentiary

               support for its findings renders Defendants' job of challenging those findings much

               more difficult . See Dcnny v. Hutchinson_ Sales.,
                                                               Corp
                                                                  649 F .2d 816, 821-22 (1 0th Cir .

               1981) (report of ex parte investigation inadmissible because investigation lacked

               formal procedures).

                     Plaintiffs argue that the findings in the SEC Order are "fully corroborated by

               highly credible evidence," [552 at 14], and that may well be the case . However, the

               SEC Order itself references none of that evidence . Moreover, as their brief indicates,

               Plaintiffs have access to that evidence and presumably use that evidence in support

               of their opposition to Defendants' summary judgment motion . It is clearly the better




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         course for this Court to evaluate the source evidence independently of the SEC's

         interpretation of what the evidence means .

               With respect to the conclusions of law, legal conclusions in public reports are

         inadmissible. Hires v . Brandon Steel Decks, Inc ., 886 F .2d 299, 302-03 (11th Cir .

         1989). "Legal conclusions are inadmissible because the jury would have no way of

         knowing whether the preparer of the report was cognizant of the requirements

         underlying the legal conclusion and, if not, whether the preparer might have a higher

         or lower standard than the law requires ." Id. The possibility for confusion with

         respect to the SEC Order is magnified because the SEC's legal standard for

         determining liability differs from that applicable in the instant action in that the SEC's

         ultimate determination that Coca-Cola's channel stuffing violated the securities laws

         did not include a scienter requirement . Also, the legal conclusions set forth in the

         SEC Order are based upon findings of fact which, as is noted above, are suspect .

               Finally, the subsequent remedial measures that Coca-Cola agreed to undertake

         as part of its settlement with the SEC are inadmissible under Fed . R. Evid. 407. See

         Hi gginbotham v . Baxter Intern ., Inc ., 495 F .3d 753, 760 (7th Cir. 2007) (in investor

         securities fraud class action, applying Rule 407 to exclude evidence of remedial

         accounting changes made by defendant after class period) .




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                      Given these evidentiary shortcomings, this Court must conclude that admission

               of the SEC Report would be unfairly prejudicial to Defendants, especially to

               Defendants Nester, Chesnut, and Daft who were not parties to the SEC proceedings .




               Federal Rulee of Evidence 404

                      This Court recognizes that the SEC Order or portions thereof may be admissible

               for certain limited purposes such as, for example, to demonstrate that Defendants were

               on notice of the document's contents . See United States v . Gilbert, 668 F .2d 94, 97

               (2nd Cir . 1981 } (SEC civil consent decree admissible to show defendant was aware

               of SEC reporting requirements) . However, this Court disagrees with Plaintiffs

               assertion that the SEC Order is admissible under Fed . R. Evid . 404(b), which states

               that

                      Evidence of other crimes, wrongs, or acts is not admissible to prove the
                      character of a person in order to show action in conformity therewith . It
                      may, however, be admissible for other purposes, such as proof of motive,
                      opportunity, intent, preparation, plan, knowledge, identity, or absence of
                      mistake or accident, provided that upon request by the accused, the
                      prosecution in a criminal case shall provide reasonable notice in advance
                      of trial, or during trial if the court excuses pretrial notice on good cause
                      shown, of the general nature of any such evidence it intends to introduce
                      at trial .




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                       The SEC Order is not evidence of other crimes, wrongs, or acts ; it is the legal

                 conclusion of an outside party regarding precisely one of the matters at issue before

                 this Court. As such, Rule 404(b) does not apply .




                                                     Conclusion

                       For the foregoing reasons, this Court concludes that the SEC Report is not

                 admissible as to consideration of class certification and as to consideration for

                 summary judgment . Accordingly,

                       IT IS HEREBY ORDERED that Defendants' motions, [Doc . 418,32], are
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                 GRANTED .

                       IT I S SO ORDERED , this ~ day of '2008 .




                                          WILLIS B . HUNT, JR.
                                          SENIOR UNITED STATES DISTRICT JUDGE




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